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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ROBERTO P. MARTINEZ,                           §
                                               §
      Plaintiff,                               §
                                               §      CIVIL ACTION NO. 3:15-CV-00513-B
v.                                             §
                                               §
STATE FARM LLOYDS,                             §
                                               §
      Defendant.                               §      JURY DEMANDED


                             JOINT NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

        The Parties wish to announce they reached an agreement of settlement in this matter. The

Parties anticipate they will have the settlement finalized within 60 days from today, upon which

time Plaintiff will file the appropriate dismissal documents with the Court.



                                             Respectfully submitted,

                                             /s/ Clayton Hardin*
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                                            And


                                            /s/ Rhonda J. Thompson
                                            Rhonda J. Thompson
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                                            STATE FARM LLOYDS


                              CERTIFICATE OF SERVICE

        The undersigned certifies that on the 20th day of May 2015, the foregoing pleading was
delivered to the following counsel of record for Plaintiffs via electronic filing and email in
accordance with the Federal Rules of Civil Procedure:

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                                            /s/ Adrienne B. Hamil
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